                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

                              CRIMINAL MINUTES – JURY TRIAL
                                                    Day 5

  Case No.: 4:18CR00011                                        Date: 10/11/2019


  Defendant:                                                Counsel:
  4:18-cr-00011-MFU-RSB-1 Marcus Jay Davis                  Tony Anderson, Bev Davis
  4:18-cr-00011-MFU-RSB-2 Kevin Lamont Trent, Jr.           Aaron Cook, Jimmy Turk
  4:18-cr-00011-MFU-RSB-3 Kanas Lamont'e Trent              Bonnie Lepold, Mike Hemenway
  4:18-cr-00011-MFU-RSB-4 Deshaun Lamar Trent               Chris Kowalczuk, Patrick Kenney
  4:18-cr-00011-MFU-RSB-5 Phillip Daekwon Miles             Tyson Daniel, Cary Bowen
  4:18-cr-00011-MFU-RSB-6 Shabba Larun Chandler             Aaron Houchens, Jeff Dorsey
  4:18-cr-00011-MFU-RSB-8 Ashley Tiana Ross                 Terry Grimes
  (bond)
  4:18-cr-00011-MFU-RSB-10 Tenikqua Fuller (bond)           Corey Diviney




  PRESENT:       JUDGE:                   Michael F. Urbanski, CUSDJ
                 TIME IN COURT:           9:28-12:30; 2:11-5:24; 5:39-6:50 7h 26m
                 Deputy Clerk:            Kristin Ayersman
                 Court Reporter:          Judy Webb
                 U. S. Attorney:          Heather Carlton, Ron Huber, Michael Newman
                 USPO:                    Kim Falatic
                 Case Agent:              Devin Taylor, FBI TFO Pittsylvania County
                 Interpreter:             none


                                         LIST OF WITNESSES

      GOVERNMENT                                            DEFENDANT
    1.                                                 1.




  PROCEEDINGS:
  Panel 6 – Collective voir dire. Jury sent out 10:23. Panel returns to courtroom 10:41. Collective
  voir dire continued. Recess 12:30 Reconvene 2:11 Mr. Kowalczuk addresses court/parties re
  guilty plea of Matthew Ferguson, -007, held today. Mr. Kowalczuk moves court for subpoena
  and for evidence to be produced, as stated, or mistrial. US responds. Court directs Mr.



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  Kowalczuk to file motions, US to respond thereafter. Court addresses motion in limine filed by
  Mr. Cook – court asks parties to respond to that Monday. Individual voir dire. Recess 5:24
  Reconvene 5:39 Individual voir dire continued. Court discusses next panel, alternates, strikes.
  Mr. Kowalczuk moves for corroborating discovery forthwith re Matthew Ferguson – US will
  email exhibit number to defense counsel. Adjourn 6:50

         12 struck for cause.
         # struck jurors struck by Government.
         # struck jurors struck by Defendant.
         # jurors sworn member jury impaneled and sworn. Remaining jurors discharged.
         Preliminary remarks and instructions to jury by Court.
         United States of America or Defendant makes oral Motion to Exclude Witnesses from
         Courtroom. Court grants motion.
         Opening Statements by counsel.
         Government presents evidence.
         Government rests.
         Defendant makes Motion for Judgment of Acquittal.
         Court      grants     denies     takes under advisement.
         Defendant presents evidence.
         Defendant rests.
         Defendant renews Motion for Judgment of Acquittal.
         Court      grants     denies     takes under advisement.
         Rebuttal evidence.
         Surrebuttal evidence.
         Closing Arguments.
         Jury Instructions given to Jury.
         Objections to Jury Instructions by U.S.A and/or Defendant.
         Court      overrules     grants.
         Jury retires to deliberate at Time retired.
         Jury returns at Time returned.
         Jury Verdict: Verdict?
                 Jury polled.                           Polling waived.
                 Mistrial declared.                     Jury discharged.

         Motions after verdict:
         Sentencing set for ______..
         Sentencing to be set by Clerk.
         Court orders Presentence Report.
         Defendant remanded to custody.
         Defendant to remain on bond.


  Additional Information:




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